                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION


SAS INSTITUTE, INC.,                          )
                                              )
                   Plaintiff,                 )
                                              )          THIRD
                                              )      AMENDED JUDGMENT
      v.                                      )
                                              )          No. 5:10-CV-25-FL
WORLD PROGRAMMING LIMITED,                    )
                                              )
                   Defendant.                 )



Decision by Court and Jury.

This action came before the Honorable Louise W. Flanagan, United States District Judge, upon
plaintiff’s motion for relief under the All Writs Act and Rule 50 of the Federal Rules of Civil
Procedure and oral motion for modification of injunction made in open court March 4, 2019 by
defendant. Upon consideration thereof,

IT IS ORDERED, ADJUDGED AND DECREED, that the court’s judgment entered July 15,
2016, the court’s amended judgment entered December 8, 2017, and the court’s second amended
judgment entered May 3, 2018 is hereby ALTERED AND AMENDED as follows: “WPL” is
HEREBY ENJOINED from licensing “WPS” to any “new customer” for use within the United
States. For the purposes of this injunction, “WPL” means defendant/judgment debtor and its officers,
agents, servants, employees, and all other persons who are in active concert or participation with
defendant/judgment debtor; “WPS” means World Programing System and any software developed
in whole or in part through the use of SAS Learning Edition; and a “new customer” is any person
or entity that held no active license to WPS on January 11, 2019. This injunction expires
automatically once defendant/judgment debtor has satisfied the judgment in this case. All other
terms of the court’s July 15, 2016, judgment, as amended December 8, 2017 and May 3, 2018, not
altered herein shall remain in full force and effect.

This Judgment Filed and Entered on March 18, 2019, and Copies To:
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March 18, 2019                    PETER A. MOORE, JR., CLERK

                                    /s/ Sandra K. Collins
                                  (By) Sandra K. Collins, Deputy Clerk




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